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 7
 8              IN THE UNITED STATES DISTRICT COURT FOR THE
 9                     EASTERN DISTRICT OF CALIFORNIA
10
                                    )   No. 2:09-CR-297 WBS
11   UNITED STATES OF AMERICA,      )
                                    )   PLAINTIFF’S MOTION TO DISMISS
12                  Plaintiff,      )   INDICTMENT AGAINST DEFENDANT ALEX
                                    )   ZAVALA-TAPIA AFTER SUCCESSFUL
13             v.                   )   COMPLETION OF DEFERRED
                                    )   PROSECUTION AGREEMENT AND ORDER
14   ALEX ZAVALA-TAPIA,             )   THEREON
                                    )
15                  Defendant.      )   Court:   Hon. William B. Shubb
                                    )
16
17
18        Plaintiff United States of America, by its counsel, Benjamin
19   B. Wagner, United States Attorney for the Eastern District of
20   California, and Samuel Wong, Assistant United States Attorney,
21   hereby moves to dismiss the Indictment in this case against
22   defendant Alex Zavala-Tapia only on the grounds that:         (1) the
23   parties had previously entered into a deferred prosecution
24   agreement calling for the dismissal of the Indictment upon
25   Zavala-Tapia’s successful completion of the deferred prosecution
26   term; and (2) Zavala-Tapia has successfully completed that term
27   as of April 20, 2012.
28        Counsel for defendant Zavala-Tapia has informed the

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 1   undersigned prosecutor that Zavala-Tapia joins in the request for
 2   dismissal of the Indictment against Zavala-Tapia only.
 3   DATED:   April 26, 2012                BENJAMIN B. WAGNER
                                            United States Attorney
 4
 5                                            /s/ Samuel Wong
 6                                    By:
                                              SAMUEL WONG
 7                                            Assistant U.S. Attorney
 8
 9                                    ORDER
10
11        The Court having received, read, and considered the motion
12   of plaintiff United States of America for an order dismissing the
13   Indictment against defendant Alex Zavala-Tapia only, and good
14   cause appearing therefrom, it is hereby ordered that the motion
15   of the United States is hereby granted in its entirety and the
16   Indictment is hereby ordered dismissed against Zavala-Tapia only.
17        It is so ORDERED.
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     DATED:   April 27, 2012
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